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				STATE ex rel. OKLAHOMA BAR ASSOCIATION v. SOLIS2017 OK 96Case Number: SCBD-6580Decided: 12/05/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 96, __ P.3d __

				

NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 




STATE OF OKLAHOMA ex rel. OKLAHOMA BAR ASSOCIATION Complainant,v.MARGARITA SOLIS, Respondent.
ORDER APPROVING RESIGNATION
On November 3, 2017, the Oklahoma Bar Association (Bar Association), notified the Court that the respondent, Margarita Solis (Attorney/respondent), had resigned from the Oklahoma Bar Association pending disciplinary proceedings. The disciplinary proceedings relate to: failing to properly safekeep client funds; failing to adequately communicate and diligently represent the client.
THE COURT FINDS:
1. The respondent has voluntarily resigned from the Oklahoma Bar Association by complying with Rule 8.1 and Rule 8.2, Rules Governing Disciplinary Proceedings, 5 O.S. 2011 Ch.1, App. 1-A.The respondent's affidavit of resignation reflects that: a) it was freely and voluntarily rendered; b) she was not subject to coercion or duress; and c) she was fully aware of the consequences of submitting this resignation.
2. The respondent states that she is aware of the following grievances against her:

DC 16-189: Grievance by Douglas Eason: it alleged that the respondent while employed as the Director of Immigration Legal Services for Catholic Charities, converted filing fees paid by clients to her personal use. The amount of converted funds exceeds $24,000.00;
DC 17-64: Grievance by Juan Calamaco: it alleged that the respondent failed to safekeep client retainer funds and converted $850.00 for personal use and that she failed to adequately communicate and diligently represent Calmaco;
DC 17-149: Grievance by Luis Torres Ayala: it alleged that the respondent failed to safekeep client funds converted $3700.00 for personal use and that she failed to adequately communicate and diligently represent Ayala.

3. The respondent states in her affidavit of resignation that she is aware that the allegations of conduct, if proven, would be a violation of Rules 1.1, 1.3, 1.4, 1.5, 1.15, 8.4(a), and 8.4(c) of the Oklahoma Rules of Professional Conduct, 5 O.S. 2011, Ch. 1, App. 3-A, and Rules 1.3 and 5.2 of the Rules Governing Disciplinary Proceedings, 5 O.S. 2011 Ch. 1, App. 1-A and of her oath as an attorney. 
4. The respondent's resignation pending disciplinary proceedings is in compliance with all of the requirements set forth in Rule 8.1, Rules Governing Disciplinary Proceedings, 5 O.S. 2011 Ch. 1, App. 1-A and it should be approved. The Bar Association has incurred costs of $52.96 in this proceeding.
5. The official roster address of the respondent as shown by the Oklahoma Bar Association is: Margarita Solis, 4123 W. Main St., Apt. H, Norman, OK 73072. 
IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that Margarita Solis' resignation pending discipline be approved.
IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that Margarita Solis' name be stricken from the roll of attorneys. Because resignation pending disciplinary proceedings is tantamount to disbarment, the respondent may not make an application for reinstatement prior to the expiration of 5 years from the date of this order. Pursuant to Rule 9.1, Rules Governing Disciplinary Proceedings, 5 O.S. 2011, Ch. 1, App. 1-A, the respondent shall notify all of her clients, if any, having legal business pending with her within 20 days, by certified mail, of her inability to represent them and of the necessity for promptly retaining new counsel. The respondent shall pay the Bar Association $52.96 for the costs of this proceeding.
DONE BY ORDER OF THE SUPREME COURT THIS 4th DAY OF DECEMBER 2017.
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR




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